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                    EXHIBIT B
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                             MASTER SERVICES AGREEMENT ATTACHMENT


This Attachment to the Staff Augmentation Services Agreement ("Agreement") between AARP (Client)
and Aquent LLC dated 812612013 is effective as of the last date signed below.

Whereas the Client wishes to engage Aquent to provide Employer of Record Services ("EOR") and;
Whereas Aquent wishes to provide Employer of Record Services.

Aquent shall provide EOR Services subject to the terms and conditions below. ln the event there is a
conflict between the terms of the Agreement and this Addendum under an EOR engagement, the terms
of this Addendum shall control with the intention this Addendum shall set out the terms for EOR Services.

1       Services
        Aquent shall hire personnel referred by Client ("Assigned Employee") and provide Employer of
        Record services ("Services") to client more particularly described below and subject to the
        following terms and conditions.

2.      Cl ient Responsibilities
        (a) Client shall use reasonable efforts and professionaljudgment to select qualified Assigned
        Employees that meet the qualifications of the position. Client shall not refer to Aquent any
        personnel who have received subpar performance evaluations by Client or its affiliates in the prior
        twenty-four (24) months. Upon request, Aquent reserves the right to exam performance
        evaluations and to reject employing any referred candidate from the Services for any valid legal
        reason.


        (b) Client shall provide the following information to Aquent: contact information, suggested pay
        rate or range, location, position title and job description, start date, and any other information
        Aquent may reasonably require providing the Services.

        (c) Client shall be responsible for notifying Aquent of any changes to the engagement including
        but not limited to termination, relocation of position, or pay-rate changes.

        (d) Client shall respond in a timely manner to any request from Aquent for records or information
        deemed necessary to perform its responsibilities and provide Services to the Assigned Employee
        or Client.

        (e) Client agrees that all notices, disciplinary processes and other employment-related matters
        must be affected through Aquent. Client shall notify Aquent sufficiently in advance of any
        engagement related changes such that Aquent may reasonably contact or notify the Assigned
        Employee, or other relevant parties respecting any notice periods required by law, agreement, or
        best practices.

        (f) Client shall not make any payments relating to the assignment directly to the Assigned
        Employee without the express written permission of Aquent. All payments relating to the
        Assigned Employee must go through Aquent.

        (g) Client shall indemnify and hold harmless Aquent against any and all claims, demands,
        damages, losses, expenses, or causes of action of every kind and character relating to, or arising
        from, any engagement undertaken directly or indirectly by the Assigned Employee prior to the
        beginning of the Assigned Employee's employment with Aquent. Should any such prior
        engagement exist, the Client shall reimburse Aquent in accordance with the payment terms of
        this Agreement any and all costs and fees incurred by Aquent relating to or arising from such
        prior engagement, along with Aquent's own fees; such costs and fees may include, without
        limitation, additional remuneration, accrued statutory leave, benefits, rights and obligations gained
        as a result of deemed employment, loss of earnings, whether perceived or actual, of the
        employee as well as any employer costs, contributions, taxes or similar relating to arising from
        the foregoing. For avoidance of doubt, an engagement shall mean an engagement in any form
        including but not limited to as an employee, or an independent contractor whether directly with
        the Client or via one or more third parties. For avoidance of doubt, Aquent shall have no liability

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     or responsibility for any claims, losses, or damages arising from Assigned Employee's
     engagements, its acts or omissions and Client's acts or omissions prior to employment by
     Aquent.

     (h) Client shall inform Aquent of any performance issues and confirms that upon request they will
     carry out performance reviews on each Employee, on behalf of Aquent and provide the details to
     Aquent.

     (i) Client agrees and confirms that should it be necessary to terminate an Assigned Employee,
     Client will provide no less than 5 business days' notice prior to any legally required notice periods
     set forth in the country where services are being performed, and before any action is taken or
     brought to the attention of the Assigned Employee. Client shall be responsible for any fines and
     penalties due to non-compliance with required notice periods. Client agrees that they will follow
     the guidance given to them by Aquent in respect of the termination and adhere to all associated
     regulation and applicable laws in the jurisdiction of the work or assignment'

     O ln the event Aquent ceases to be the EOR of an Assigned Employee for any reason, including
     but not limited to termination, layoff, or resignation, Aquent will bill PTO payout as a flat fee to
     AARP.

3.   Aquent Responsibilities
     (a) Aquent will EOR Salaried Consultants as well as Hourly Employees. Determination of Salaried
     or Hourly employment will be decided by AARP and business need for each individual employed
     with Aquent. Aquent will issue payment for approved time worked on a weekly basis to Hourly
     Employees. Salaried Consultant will receive a set annual salary which is not contingent on
     billable hours. Salaried Consultants with Aquent at AARP will be paid a weekly salary and will
     receive Premium Benefits based on tenure with AARP. Salaried Consultants do not qualify for
     overtime.

     (b) Aquent shall provide the Assigned Employee with the Premium Benefits Package specific to
     Aquent resources at AARP. Policy will remain in accordance with Aquent's then current policies.

     (c) Aquent shall be responsible for payment andior withholding of, and for compliance with all
     applicable Federaland State law relating to, allwages, overtime, benefits, worke/s
     compensation, disability benefits, unemployment insurance, and all income taxes and social
     security.

     (d) Aquent shall ensure that the Assigned Employees will be eligible to perform work in the United
     States via a completed l-9 form verified by Aquent. Aquent represents and warrants that it uses
     e-Verify for new hires, and that it uses e-Verify in accordance with federal, state, and local laws.

     (e) Aquent shall Comply with all provisions of the ACA applicable to any Assigned Employee
     including, without limitation, the employer shared responsibility provisions relating to the offer of
     "minimum essential coverage" to "fulltime" employees (as those terms are defined in Code
     S49B0H and related regulations) and the applicable employer information reporting provisions
     under Code 56055 and $6056 and related regulations.

     (f) At Client's request, Aquent will perform background/qualification checks for all employees that
     Client selects. Client shall provide Aquent with its background check parameters and its pass/fail
     criteria. Aquent will perform criminal background checks in accordance with federal, state, and
     local laws, including the Fair Credit Reporting Act, the Americans with Disabilities Act, and similar
     state and local statutes and regulations. Aquent may ask Client for job position descriptions to
     use in Aquent's determinations regarding when and how background checks are performed, and
     Client shall provide such descriptions when so asked. Any costs for background checks or drug
     testing as requested by the Client shall be billed separately. Client shall pay Aquent for such
     costs within 30 days of the invoice date.

     (g) The Parties acknowledge and agree that Aquent, in its sole discretion, shall have the final
     decision on whether to hire the candidate and or terminate the candidate.


,^rrr^r!#        Date

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      (h) Employees day-to-day responsibilities and supervision shall be directed by Client and Client
      business needs. Client is responsible for directing and supervising the Assigned Employee and
      the work they perform, Aquent shall not be liable for any claims, costs, expenses, damages,
      obligations, or losses arising in connection with the acts or omissions of any Assigned Employee
      within the scope of Client's supervision of the Assigned Employee.

      EXCEPT AS SET FORTH HEREIN, AQUENT DISCLAIMS ANY OTHER REPRESENTATIONS
      OR WARRANTIES OF ANY KIND, WHETHER EXPRESS, IMPLIED (EITHER IN FACT OR BY
      oPERATION OF LAW), OR STATUTORY, WlrH RESPECT TO THE SUBJECT MATTER OF
      THIS AGREEMENT, INCLUDING ANY IMPLIED WARRANTIES OF MERCHANTABILIry OR
      FITNESS FOR A PART]CULAR PURPOSE.


4.    Non-Payment by Client
      ln the event that Client does not pay an invoice within forty-five (45) days of the due date, Aquent
      may terminate this Agreement. Client shall reimburse Aquent for all funds disbursed by Aquent,
      including but not limited to Assigned Employee's gross wages, payroll taxes and insurance costs.

5.    Safe Work Environment
      Aquent's workers' compensation carrier shall have the right to inspect the premises of any Client
      or affiliate of the Client upon reasonable notice and acceptance, during normal business hours
      and make recommendations pertaining to job safety. Aquent shall have the right, and upon
      reasonable prior notice to Client, to physically inspect the worksite and work processes, to review
      and address, unilaterally or in coordination with Client, Assigned Employee work performance
      issues and Assigned Employee conduct at the worksite. Aquent may terminate any relationship
      with Client or this Agreement, if, for any reason, Aquent determines it is an unsafe worksite.

6.    lndependent Contractors
      Aquent and Client are independent contractors. Nothing in this Agreement shall be deemed to
      create any form of partnership, principal-agent relationship, employer-employee relationship, or
      joint venture between the parties.


7     Aquent Fee
      (a) Fees shall be on Attachment A. Client agrees to pay one and a half (1.5) times the bill rate for
      oveftime hours (as defined by applicable law) worked each week by nonexempt Hourly Employee
      plus any additional pay that may be required by the overtime provisions of applicable laws.
      Aquent will invoice Client monthly, and Client shall pay each invoice within 45 days of the date of
      the invoice. Aquent may adjust the Fees to cover increased burden costs, that will be quoted on a
      case-by-case basis.
      (b) Billing for all EOR services are exempt and excepted from all rebates and discounts, if any,
      as may be provided for services other than EOR services.

8.    Term
      This Agreement shall be in effect until terminated in writing by either party. Either party may
      terminate this Agreement at any time with 30 days prior written notice. However, such termination
      shall not affect any amounts owed from the Client to Aquent.

9.    Compliance With Applicable Law.
      The parties agree to comply with all applicable federal, state, county and local laws in the
      United States and other applicable foreign jurisdictional laws in satisfying their obligations
      under this Agreement, including but not limited to, measures relating to working time and
      compensation of workers, workplace health and safety issues, mandates relating protected
      leaves, compensation for workplace injuries and/or illnesses and employment discrimination
      laws, as they apply in a specific jurisdiction. The Parties agree they will not unlaMully
      discriminate against any applicant or employees on the basis of sex, race, age, disability,
      religion, national origin or any other legally protected basis.

10.   lndemnification
      (a) Each                                hold the other, and its officers, directors, employees,
                                              any and all losses (including costs and legal fees)

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        which arise out of the indemnifying party's (i) failure to comply with the terms of this
        Agreement, (ii) its negligence, or (iii) a violation of applicable law, relating to obligations
        under this Agreement.
        (b) Client shall defend, indemnify and hold harmless Aquent fully against any loss, injury, damage
        or costs suffered, sustained or incurred by: (i) an Assigned Employee in relation to any loss,
        injury, damage or costs arising out of any act or omission by the Client or its employees or
        agents; or (ii) a third party, in relation to any loss, injury, damage or costs arising out of any act or
        omission of an Assigned Employee in the course of carrying out the services to Client'

11.     Limitation of Liability
        IN NO EVENT SHALL AQUENT HAVE ANY LIABILITY OR RESPONSIBILITY FOR ANY
        INDIRECT, INCIDENTAL, EXEMPLARY, SPECIAL OR CONSEQUENTIAL DAMAGES
        (tNcLUDtNG, BUT NOT LlMlrED TO, DAMAGES ARISING FROM LOSS OF PROFITS OR
        DATA), EVEN IF ADVISED OF THE POSSIBILITY OF SUCH DAMAGES. AQUENT'S
        LIABILIry FOR DAMAGES HEREUNDER SHALL NOT EXCEED THE AMOUNT OF FEES
        PAID BY CLIENT TO AQUENT DURING THE PRIOR SIX MONTHS FROM WHEN THE
        CLAIM AROSE.


12.     Entire Agreement
        This Agreement shall be governed under the Commonwealth of Massachusetts. This Agreement,
        and any exhibits attached to it contain the entire understanding between the parties and
        supersede all prior agreements and understandings relating to the subject mafter of this
        Agreement. To the extent there is any conflict between the terms of the Agreement and
        Attachment A, this Agreement shall control.


Except as set forth in these Additions and Modifications the Agreement is not modified in any way. The
parties hereto expressly acknowledge that the Agreement remains in full force and effect.


AQUE                                                         AARP

By:

Name:

Title                                                        Title:

Date:                 ,?-a,D                                 Date:




,^,ffi,-4!b                                                                                                     4
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                                                                    ATTACHMENT A
                                                                   Salaried Consultants

Solaried Consultonts-
Employer of Record
                                                  Saloried Consultont Benefits
Non-Aquent Employees that ore being
                                                   Stotutory Benefits ( M edica re, Socio I Security, F IJTA, SIJTA)
transitioned to the Aquent Employer of
                                                   Platinum Healthcare by CIGNA. Choice of 3 Options - HMO Style, PPO Style, Consumer Choice
Record Progrom will be at fixed weekly
                                                   lncludes 550,000 Lifetime Maximum Coverage for Fertility Solutions through CIGNA
solaries bosed on 40 hours ond AARP
                                                   Platinum Dental by CIGNA. Choice of 2 Options - PPO and Premier
will be billed fixed monthly invoices
                                                  401(k) with Match. Salaried Consultant: 50% of the first6%, Hourly: 10% of the firsttO%.
based on 40 hours per week @42%
                                                   Disability and Life lnsurance. STD, LTD, Basic Life and AD&D
mork-up.
                                                  Sick Leave in all 50 States and Canada

                                                   12 Holidays to match AARP Holidays
All Aquent recruited employees
                                                  Tenured PTO
tra ns ition ed to So I a rie d Co ns u lta nts       Salaried Consultant: 0-3 Years - 15 Days / 3-6 Years - 20 Days / 6+ Years - 25 Days
                                                      Hourly:3M-lYrs5Days/1-2Yrs-10Days/2-3Yrs-15Days/3-6Years-20Days/G+yrs-25Days
will have o 5% increose to their current              Part-time resources accrue vacation leave on a prorated schedule.
bill rate.                                        Caregiving Leave.2 Weeks atL00%

                                                   Parental Leave. 5 Weeks atL}O%
All Salaried Consultants Paid Time Off            Employee Assistance Program

   0-3 Years - 15 Days                            $2,000 ELF Tuition Reimbursement and Team Readiness which includes Aquent's
                                                  Online Learning Platform Gymnasium Enterprise, Gymnasium, and Career Coaching
    3-6 Years - 20 Days                           Employee Discount Program
    6+ Years - 25 Days                            Employee Paid (Voluntary) Benefits including FSAs, Supplemental Life for Self, Spouse and Child,
                                                  Business Travel Accident, ldentity Protection Plan, Supplemental Accident lnsurance,
                                                  Supplement Critical lllness lnsurance, Supplemental Hospital lndemnity lnsurance, Legal lnsurance.
   Caregiving Leave.2 Weeks at!0O%
                                                  Other: Paid Family Leave, byState as Required by Law, Family Medical Leave, as required by Law,
   Parental Leave. 6 Weeks at!0O%
                                                  Military Leave, as required by Law


                                                                      Additional details provided in the 2023 AQUENT & AARP Tolent Guide




                                         Date
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